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     IT IS ORDERED as set forth below:



     Date: March 19, 2018
                                                       _____________________________________
                                                                     Paul Baisier
                                                             U.S. Bankruptcy Court Judge

 _______________________________________________________________




                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
IN RE:                                               CASE NO. 17-68950-pmb

LEGURTHA BAILEY RILEY,                               CHAPTER: 13
          Debtor.
                                                     JUDGE: HONORABLE PAUL BAISIER
WELLS FARGO BANK, N.A.,
          Movant,

v.

LEGURTHA BAILEY RILEY ,Debtor
MELISSA J. DAVEY, Trustee,                           CONTESTED MATTER
            Respondent(s).


              CONSENT ORDER ON MOTION FOR RELIEF FROM STAY (#24)
         The above styled Motion filed January 24, 2018, (Docket No. 24) having been scheduled

for a hearing before the Court on February 22, 2018, upon Notice of Assignment of Hearing to

each of the above-captioned parties in interest, and it appearing to the Court that the parties

consent hereto:
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        THE PARTIES AGREE that the post-petition arrearage through February 1, 2018, totals

$2,130.36, including three (3) payments of $710.12 each.

        This arrearage shall be paid as follows:

        Debtor shall receive credit of $289.88. Debtor agrees to pay the sum of $1,840.48
        instanter. Beginning March 1, 2018, Debtor shall resume timely remittance of the
        regular monthly mortgage payments. Payments should be sent to:

                                   Wells Fargo Home Mortgage
                               Attn: Bankruptcy Payment Processing
                                         P.O. Box 14507
                                      Des Moines, IA 50306

        or to such address as may be designated.


        IT IS HEREBY ORDERED that the Motion for Relief from Stay with respect to 2553

Brookgate Crossing, Ellenwood, Georgia 30294 is DENIED, as the parties herein agree that the

interest of Movant is adequately protected by payment and performance as more particularly set

forth hereinafter. It is

        FURTHER ORDERED that should Debtor(s) default in payment of any sum specified

herein, or in any regular monthly mortgage payments which come due according to Movant’s

Loan Documents for a period of six (6) months from the date of entry of this order, then upon

notice of default sent by first class mail to Debtor(s), attorney for Debtor(s) and the Trustee, and

failure of Debtor(s) to cure such default within ten (10) days from the date of receipt of such

notice, Movant may file a motion and affidavit of default, with service upon Debtor(s), attorney

for Debtor(s) and the Trustee, and the Court may enter an Order modifying the automatic stay,

without further notice or hearing. It is
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       FURTHER ORDERED that in the event relief from the automatic stay is later granted,

the Trustee shall cease funding any balance of Movant’s claim, and the provisions of Fed. R.

Bank. P. 4001(a)(3) may be waived. It is

       FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess

of the amount due to Movant and to any subordinate lienholder(s) properly entitled to receive

proceeds under applicable State Law, shall be paid to the Trustee for the benefit of the Estate.

                                    [END OF DOCUMENT]

CONSENTED TO BY:

/s/ Andrew H. McCullen
Andrew H. McCullen, Bar No.: 872658
Attorney for Movant
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/s/ Darren Hojnacki_________________________ with express permission
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Email: se@myatllaw.com

NO OPPOSITION:

/s/ Jason L.Rogers___________________ with express permission
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Attorney for Trustee
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